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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(E) AND LOCAL
CRIMINAL RULE 57.4(E)
In Case Number 3:24-cv-00180-HEH , Case Name ‘test othe piumter & stoamiters Union Local No, 10 Apprenticeship Fund v. Nanky

Party Represented by Applicant: Plaintiff

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia
PERSONAL STATEMENT

FULL NAME (no initials, please) Charles William Gilligan

Bar Identification Number 8606010129 State Maryland
Firm Name O'Donoghue & O'Donoghue, LLP
Firm Phone # (202) 362-0041 Direct Dial # (202) 274-2437 FAX # (202)362-2640

E-Mail Address cgilligan@odonoghuelaw.com
Office Mailing Address 5301 Wisconsin Avenue NW, Suite 800, Washington, D.C. 20015

Name(s) of federal district court(s) in which I have been admitted District of Columbia, Maryland

I certify that the rules of the federal court in the district in which | maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

1am [_J am not [ila full-time employee of the United States of America, and if so, 74 exemption NI fee.

(Applicant’S Signature) *

I, the undersigned, do certify that | am a member of the bar of this Court, not related to the applicant; that | know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that | have
examined the applicant’s personal statement. | affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

ly 4. ML March 21, 2024
(Signature) (Date)

Jacob N, Szewezyk 89617
(Typed or Printed Name) (VA Bar Number)

Court Use Only:
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Clerk’s Fee Paid YJ or Exemption Granted [1]

The motion for admission is GRANTED [for DENIED [_]

AA

Henry E, Hudson.
Senior United States District Judge

March 22, ZO24
(Date) .

